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                                UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

    SIMON PROPERTY GROUP, INC.,

                                  Plaintiff,

    -vs-                                                     Case No. 6:11-cv-1598-Orl-31KRS

    LYNNETTE LAURIA, et al.,

                            Defendants.
    _____________________________________/

                                                 ORDER

           On December 13, 2012, Magistrate Judge Spaulding entered a Report and

    Recommendation (Doc. 256), recommending that Motion for Sanctions for Spoliation of Evidence

    (Doc. 231) be GRANTED. Defendant filed timely objections to the Report (Doc. 259). Plaintiff

    responded (Doc. 286). Upon de novo review of the above, the Court finds that the objecting

    Defendants have failed to make a showing that their failure to respond to the underlying motion

    was the result of excusable neglect and that Judge Spaulding’s assessment was correct in light of

    that lack of a response. Moreover, even if the Court were to consider the objections at issue, the

    result would not change, as those objections are not well founded. It is, therefore

           ORDERED that:

           1.      The Report and Recommendation of the Magistrate Judge is Confirmed and

    Adopted;

           2.      The Motion for Sanctions for Spoliation of Evidence is GRANTED;
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           3.      The Clerk is DIRECTED to enter a default against Defendant Lynnette Lauria as

    to Counts I and III-VIII and against Defendants RJL Services, LLC; Arnell, Inc.; and Snouthound

    Enterprises, LLC as to Counts II-V of the Second Amended Complaint;

           4.      Defendants Lynnette Lauria; RJL Services, LLC; Arnell, Inc.; and Snouthound

    Enterprises, LLC are ORDERED to pay the Plaintiff’s attorneys’ fees and costs reasonably

    incurred relating to the spoliation proceedings; and

           5. Counsel for the Plaintiff and for Defendants Lynnette Lauria; RJL Services, LLC;

    Arnell, Inc.; and Snouthound Enterprises, LLC are ORDERED to confer not more than 20 days

    from the entry of this order in a good faith effort to resolve the amount of attorneys’ fees and costs

    reasonably incurred relating to the spoliation proceedings. If that conference does not resolve the

    issue, Simon shall file a motion to establish the amount, with supporting documentation, not more

    than 10 days after the conference. Defendants Lynnette Lauria; RJL Services, LLC; Arnell, Inc.;

    and Snouthound Enterprises, LLC may file their response not more than 10 days after Simon files

    its motion.

           DONE and ORDERED in Chambers, Orlando, Florida on January 15, 2013.




    Copies furnished to:

    United States Magistrate Judge
    Counsel of Record
    Unrepresented Party




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